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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
                                Magistrate Judge Michael E. Hegarty

Civil Action No:          21-cv-796-MEH                                                Date: July 11, 2022
Courtroom Deputy:         Christopher Thompson                                         FTR: A 501

Parties:                                                              Counsel:

USA,                                                                  Tonya Andrews

     Plaintiff,

v.

121 ASH ROAD, BASALT, COLORADO, et al.,

     Defendant.


                           COURTROOM MINUTES/MINUTE ORDER
                                 STATUS CONFERENCE

Court in session:         11:41 a.m.

Court calls case. Appearances of counsel. Clifford Stricklin appears on behalf of Claimant
Henke Property LLC.

Discussion held regarding the status of the case. The parties request an extension of discovery
deadlines with the Court grants the request.


ORDERED: The Discovery Deadline is extended to December 31, 2022.

                  Status Conference set for November 9, 2022, at 11:15 a.m. before United States
                  Magistrate Judge Michael E. Hegarty in Courtroom A501 of the Alfred A. Arraj
                  Courthouse.


Court in recess:          11:57 a.m.              Hearing concluded.
Total in-court time:      00:16
*To obtain a transcript of this proceeding, please contact Patterson Transcription Company at (303) 755-4536 or AB
Litigation Services at (303) 629-8534.
